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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 13-62165-CIV-COHN/SELTZER

 LINROY DURANT, individually,

              Plaintiff,

 vs.

 GTE FINANCIAL SERVICES, LLC, a Florida
 limited liability company,

            Defendant.
 _______________________________________/

        ORDER DISMISSING CASE WITHOUT PREJUDICE FOR FAILURE TO
                          EFFECTUATE SERVICE

       THIS CAUSE is before the Court upon Response to Order to Show Cause and

 Militzok & Levy, P.A.’s Motion for Leave to Withdraw as Counsel for Plaintiff Linroy

 Durant [DE 6] (“Show Cause Response”). The Court has carefully considered the

 Show Cause Response, the argument of counsel at the February 14, 2014 hearing, the

 record in the case, and is otherwise advised in the premises.

       On February 4, 2014, the Court entered an Order to Show Cause because there

 was no evidence that Defendant had been served within 120 days as required by

 Federal Rule of Civil Procedure 4(m). See DE 5. On February 10, 2014, counsel

 responded to the Order to Show Cause by seeking to withdraw from the case because

 he has been unable to communicate with the Plaintiff. As stated on the record during

 the February 14, 2014 hearing on this issue, dismissal of this case without prejudice is

 proper because Defendant has yet to be served. Accordingly, it is

       ORDERED AND ADJUDGED that this case is DISMISSED WITHOUT
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 PREJUDICE for failure to comply with Fed. R. Civ. P. 4(m).

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 14th day of February, 2014.




 Copies provided to counsel of record via CM/ECF.




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